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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                   MONROE DIVISION

  TIMOTHY WAYNE CALHOUN                                  CIVIL ACTION NO. 21-1744

                                                         SECTION P
  VS.
                                                         JUDGE TERRY A. DOUGHTY

  DARREL VANNOY                                          MAG. JUDGE KAYLA D. MCCLUSKY


                                            JUDGMENT

         The Report and Recommendation of the Magistrate Judge [Doc. No. 8] having been

  considered, together with the Objection [Doc. No. 9] filed by Plaintiff, and, after a de novo

  review of the record, finding that the Magistrate Judge’s Report and Recommendation is correct

  and that judgment as recommended therein is warranted,

         IT IS ORDERED, ADJUDGED, AND DECREED that Petitioner Timothy Wayne

  Calhoun’s Petition for Writ of Habeas Corpus, [Doc. No. 1], is DENIED and DISMISSED

  WITH PREJUDICE as time-barred under 28 U.S.C. § 2244(d).

         MONROE, LOUISIANA, this 7th day of October 2021.



                                                     ______________________________________
                                                     TERRY A. DOUGHTY
                                                     UNITED STATES DISTRICT JUDGE
